 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.128 Page 1 of 13



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                       ______

ALBERT REGINALD ROBINSON,

                      Plaintiff,                   Case No. 2:18-cv-9
v.                                                 Honorable Gordon J. Quist
JESSICA KNACK et al.,

                      Defendants.
____________________________/

                                          OPINION

              This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the

Court is required to dismiss any prisoner action brought under federal law if the complaint is

frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks monetary

relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C.

§ 1997e(c). The Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner,

404 U.S. 519, 520 (1972), and accept Plaintiff’s allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these

standards, the Court will dismiss Plaintiff’s complaint for failure to state a claim against

Defendants O’Brien, Maki, Anderson, MacLaren, Peller, Ball, Lamb, Corizon, and Unknown

Party JM. The Court will also dismiss Plaintiff’s due process claims regarding his misconduct

tickets. The Court will serve the complaint against Defendants Knack, Stallman, McDowell,

Moran, Eicher, and Weist.
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.129 Page 2 of 13



                                             Discussion

               I.      Factual allegations

               Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Chippewa Correctional Facility (URF) in Kincheloe, Chippewa County, Michigan.

The events about which he complains occurred at that facility and the Kinross Correctional Facility

(KCF) in Kincheloe, Chippewa County, Michigan. Plaintiff sues Nurse Jessica Knack, Dr.

Timothy Stallman, Hearing Officer Unknown O’Brien, Corrections Officer Unknown McDowell,

Corrections Officer Unknown Moran, Corrections Officer Unknown Maki, Grievance Coordinator

C. Anderson, Warden Duncan MacLaren, Administrative Assistant D. Peller, Nurse Dawn Eicher,

Nurse Supervisor Wendy Ball, Healthcare Coordinator Patricia Lamb, Nurse Practitioner Tara

Weist, Corizon, and Unknown Party named as “JM” in the mailroom.

               Plaintiff alleges that on November 6, 2016, he asked Defendant Weist to be treated

for sores on his private area. On November 7 or 8, 2016, Defendant Weist told Plaintiff that

Weist’s request for testing had been denied because the policy did not approve of venereal disease

tests. Plaintiff states that he had previously shown his scabs to Defendant Weist, but that because

his kites were never addressed in a timely manner, he could never get to health care before the

bumps opened, bled, and turned into scabs. Defendant Weist told Plaintiff that she could not

provide treatment without seeing the bumps. Plaintiff claims that Defendant Weist could have

used Plaintiff’s electronic medical record, which documents the different stages of his bumps since

2012, but Weist refused in retaliation for Plaintiff’s grievances. Plaintiff claims that the denial of

treatment for this condition has caused pain, scarring, and numbness in Plaintiff’s private area.

               Plaintiff alleges that on March 24, 2017, he missed a 9:15 a.m. health care

appointment to pick up his glasses because he had been kept awake the previous night by a



                                                  2
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.130 Page 3 of 13



toothache. Plaintiff had a dental appointment at 9:45 a.m. on the same day and had the dental

assistant ask Defendant Knack if he could pick up his glasses, but Defendant Knack refused, stating

that Plaintiff would have to be rescheduled for a new appointment. Plaintiff received a misconduct

for missing the appointment. Plaintiff claims that the misconduct was actually written in retaliation

for filing grievances and a lawsuit on healthcare workers. Plaintiff filed a grievance, which was

rejected because it related to a misconduct. Plaintiff asserts that in the past, Defendant Knack has

asked the attending officer to call the unit when white inmates were late for, or missed, their

appointments. Plaintiff rescheduled his appointment for March 27, 2017, on which day he received

his glasses.

               On March 31, 2017, Plaintiff had a nurse appointment for an infection in his right

ear and was given an appointment to see the doctor. Plaintiff forgot to ask the nurse for more

allergy medication, so when he arrived back on his unit, he had the officer call health care and

speak to Defendant Knack. Defendant Knack refused to give Plaintiff any allergy tablets, stating

that Plaintiff could get them from the store. Plaintiff states that Defendant Knack knew that he

was indigent and could not afford the medication. Plaintiff claims that Defendant Knack retaliated

against him for filing a grievance on her.

               Plaintiff was seen by the doctor on April 27, 2017, for “serous otitis (fluid in the

ear).” Plaintiff claims that Defendant Knack was responsible for his having to wait almost a month

to see the doctor. On June 1, 2017, Plaintiff was examined by Defendant Stallman in relation to

Plaintiff having blood in his urine in April or May of 2017. During the examination, Defendant

Stallman refused to acknowledge Plaintiff’s infected prostate, which was bleeding, and told

Plaintiff that he could not find anything wrong with him. Defendant Stallman told Plaintiff that

he would give him Cipro again, despite the fact that it had not worked for Plaintiff the last time he



                                                 3
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.131 Page 4 of 13



had taken it. Plaintiff asked why his prostate was infected and bleeding and Defendant Stallman

became angry and told Plaintiff to leave the exam room.

               On June 2, 2017, Plaintiff was told to report to the med-line. When Plaintiff arrived,

he was told that he would be on med-line to ensure that he take his Cipro. The med-line is for

restricted drugs. Plaintiff states that Cipro is not a restricted medication and that he has never had

any problem with Cipro in the past. Plaintiff states that being on med-line would interfere with

Plaintiff’s ability to attend religious services and that his placement on med-line at the direction of

Defendant Knack was retaliatory.

               On June 3, 2017, Plaintiff arrived at med-line at 8:30 a.m. and asked Defendant

Knack to let him take the antibiotic with him, explaining that he had taken it before and had been

allowed to do so in his unit. Defendant Knack refused. When Defendant Knack gave Plaintiff the

pill, she released the cup before Plaintiff had it in his hand, so when Plaintiff reached to catch it,

his finger brushed very slightly against Defendant Knack’s finger. Plaintiff then took the pill and

returned to his cell. Later that day, Plaintiff received an assault and battery misconduct and was

placed on “non-bond confinement.” Plaintiff filed a grievance asserting that he had been lured to

med-line so that he could be given a retaliatory misconduct. Plaintiff states that Defendant Knack

lied in her responses to the hearing investigator’s questions. On June 8, 2017, Defendant O’Brien

conducted a hearing on the misconduct, during which she told Plaintiff to convince her that he was

not guilty but refused to allow Plaintiff to finish his sentences. Defendant O’Brien constantly

interrupted Plaintiff, so Plaintiff raised his voice, prompting Defendant O’Brien to tell Plaintiff

that yelling was not good for his case. Defendant O’Brien refused to use the security video that

Plaintiff requested. Plaintiff believes that the video showed that he was not guilty of assault.

Plaintiff concludes that Defendant O’Brien did not give him a fair and impartial hearing, which



                                                  4
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.132 Page 5 of 13



violated Plaintiff’s due process rights. Plaintiff also states that the misconduct conviction was

retaliatory because Plaintiff had previously filed grievances on Defendant O’Brien and called her

a racist. As a result of his misconduct conviction, Plaintiff lost his job. Plaintiff claims that he

was transferred to a different facility immediately after his hearing. Plaintiff attempted to request

a rehearing, but Unknown Party URF mailroom employee JM returned Plaintiff’s request and

Plaintiff missed the deadline. Plaintiff remailed the request and explained the reason for the late

filing to Defendant Russell, but Russell denied Plaintiff’s request.

               On June 6, 2017, Plaintiff overslept for evening med-line by fifteen minutes.

Officer Depky told Plaintiff that he could go to med-line. Plaintiff arrived at med-line at 7:55

p.m., and Defendant McDowell asked Plaintiff if he had a pass. Plaintiff admitted that he did not,

but stated that he had the permission of Officer Depky. Defendant McDowell called Officer

Depky, who verified that Plaintiff had permission. Defendant McDowell then stated to Plaintiff,

“You assaulted a nurse at the med-line and then filed a grievance on her.” Defendant McDowell

then wrote a class II misconduct on Plaintiff for being out of place. Defendant Moran reviewed

the misconduct with Plaintiff later that evening. Plaintiff filed a grievance regarding the incident.

When Plaintiff discussed the issue with Officer Depky, Officer Depky stated “I told Moran that

you had permission.” Plaintiff never received a hearing on the misconduct, and Plaintiff’s

grievance was denied at every level by Defendants Anderson, Moran, Maki, and MacLaren.

               On February 15, 2017, Defendant Stallman examined Plaintiff and told him that a

recent test showed that Plaintiff’s kidneys were not functioning properly. Defendant Stallman

refused Plaintiff’s request to see a specialist. On March 9, 2017, Plaintiff had a blood draw and

was told that a kidney test would be performed. No further treatment was given, and Plaintiff filed

a grievance. On April 27, 2017, Defendant Stallman examined Plaintiff for an ear infection and



                                                 5
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.133 Page 6 of 13



gave Plaintiff Cefuroxime Axetil. After completing the antibiotic, Plaintiff’s ear pain and hearing

became worse.

                On May 7, 2017, Plaintiff kited health care to request treatment for a worsening ear

infection, as well as a kite about “bumps” on his “private” area. At Plaintiff’s May 11, 2017,

hearing test, Defendant Eicher told Plaintiff that she never received his kites. Plaintiff showed

Defendant Eicher a copy of the kites and she stated, “Oh well, write another one, goodbye.”

Plaintiff claims that Defendant Stallman had previously told him to come to health care

immediately when he noticed bumps on his private area, so that they could see the bumps and

prescribe antibiotics. Plaintiff states that he was seen by nursing staff for the bumps / sores on his

private area eight days after kiting, at which point the lesions were healing. Plaintiff asserts that

Defendant Eicher was aware of Plaintiff’s ear infection because Defendant Stallman had

prescribed Plaintiff antibiotics to treat the ear infection. Plaintiff claims that the hearing test was

held in a loud area, that he did not hear any of the initial beeps in the hearing test, and that he was

not even aware that the test had started. However, Defendant Eicher falsified the hearing test

results, stating that Plaintiff’s hearing was fine.

                Plaintiff filed grievances regarding the denial of health care. On May 22, 2017, the

step I grievance respondent to KCF-1705-393-12E stated that the results of Plaintiff’s hearing test

were normal, that the test had taken place in an appropriate setting with the door shut, and that a

hearing test for comparison had been scheduled in six months. On June 14, 2017, the step II

respondent to grievance KCF-1705-393-12E1 stated that Plaintiff’s ears had been examined on

May 19, 2017, and were found to be normal. On August 28, 2017, the step I respondent to URF-

1708-2569-12D1 stated that Plaintiff’s ears were examined and that antibiotic ear drops were

provided. See ECF No. 1-3, PageID.80-82.



                                                      6
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.134 Page 7 of 13



               Plaintiff claims that Defendants’ conduct violated his rights under the First, Eighth,

and Fourteenth Amendments. Plaintiff seeks compensatory and punitive damages.

               II.     Failure to state a claim

               A complaint may be dismissed for failure to state a claim if it fails “‘to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include

more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

679. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at

678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged – but it has not

‘show[n]’ – that the pleader is entitled to relief.” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th Cir. 2010) (holding that the

Twombly/Iqbal plausibility standard applies to dismissals of prisoner cases on initial review under

28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

               To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed



                                                  7
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.135 Page 8 of 13



by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating

federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                Initially the Court notes that Plaintiff fails to make specific factual allegations

against Defendants Maki, Anderson, MacLaren, Peller, Ball, and Lamb, other than his claim that

they failed to conduct an investigation in response to his grievances. Government officials may

not be held liable for the unconstitutional conduct of their subordinates under a theory of

respondeat superior or vicarious liability. Iqbal, 556 U.S. at 676; Monell v. New York City Dep’t

of Soc. Servs., 436 U.S. 658, 691(1978); Everson v. Leis, 556 F.3d 484, 495 (6th Cir. 2009). A

claimed constitutional violation must be based upon active unconstitutional behavior. Grinter v.

Knight, 532 F.3d 567, 575-76 (6th Cir. 2008); Greene v. Barber, 310 F.3d 889, 899 (6th Cir. 2002).

The acts of one’s subordinates are not enough, nor can supervisory liability be based upon the

mere failure to act. Grinter, 532 F.3d at 576; Greene, 310 F.3d at 899; Summers v. Leis, 368 F.3d

881, 888 (6th Cir. 2004). Moreover, § 1983 liability may not be imposed simply because a

supervisor denied an administrative grievance or failed to act based upon information contained in

a grievance. See Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999). “[A] plaintiff must plead

that each Government-official defendant, through the official’s own individual actions, has

violated the Constitution.” Iqbal, 556 U.S. at 676. Plaintiff has failed to allege that Defendants

Maki, Anderson, MacLaren, Peller, Ball, and Lamb engaged in any active unconstitutional

behavior. Accordingly, he fails to state a claim against them.

                In addition, Defendant Corizon Health, a private corporation providing health care



                                                   8
 Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.136 Page 9 of 13



services to prison inmates, cannot be held liable under § 1983 on the basis of respondeat superior

or vicarious liability. Rouster v. County of Saginaw, 749 F.3d 437, 453 (6th Cir. 2014); Savoie v.

Martin, 673 F.3d 488, 494 (6th Cir. 2012); Street v. Corr. Corp. of Am., 102 F.3d 810, 814

(6th Cir. 1996). A private contractor is liable under § 1983 only when execution of the private

contractor’s policy or custom inflicts the alleged injury. Monell, 436 U.S. at 694; Johnson v.

Karnes, 398 F.3d 868, 877 (6th Cir. 2005). To satisfy the Monell requirements, “a plaintiff must

establish that his or her constitutional rights were violated and that a policy or custom of the

[private contractor] was the ‘moving force’ behind the deprivation of the plaintiff’s rights.” Miller

v. Sanilac County, 606 F.3d 240, 255 (6th Cir. 2010). Plaintiff has failed to allege facts showing

that he was injured as the result of a policy or custom of Corizon. Therefore, Plaintiff’s claim

against Corizon Health is properly dismissed.

               Plaintiff alleges that Defendant Unknown Party URF mailroom employee JM

retaliated against him by returning his request for a rehearing to him, which caused the request to

be untimely. Retaliation based upon a prisoner’s exercise of his or her constitutional rights violates

the Constitution. See Thaddeus-X v. Blatter, 175 F.3d 378, 394 (6th Cir. 1999) (en banc). In order

to set forth a First Amendment retaliation claim, a plaintiff must establish that: (1) he was engaged

in protected conduct; (2) an adverse action was taken against him that would deter a person of

ordinary firmness from engaging in that conduct; and (3) the adverse action was motivated, at least

in part, by the protected conduct. Id. Moreover, a plaintiff must be able to prove that the exercise

of the protected right was a substantial or motivating factor in the defendant’s alleged retaliatory

conduct. See Smith v. Campbell, 250 F.3d 1032, 1037 (6th Cir. 2001) (citing Mount Healthy City

Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977)).

               Plaintiff claims that the only reason that Unknown Party JM could have had in



                                                  9
Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.137 Page 10 of 13



returning Plaintiff’s request for rehearing was to make Plaintiff miss the deadline. Although

temporal proximity “may be ‘significant enough to constitute indirect evidence of a causal

connection so as to create an inference of retaliatory motive,’” Muhammad v. Close, 379 F.3d 413,

417-18 (6th Cir. 2004) (quoting DiCarlo v. Potter, 358 F.3d 408, 422 (6th Cir. 2004)),

“[c]onclusory allegations of temporal proximity are not sufficient to show a retaliatory motive.”

Skinner v. Bolden, 89 F. App’x 579, 580 (6th Cir. 2004).

       Muhammad does not stand for the proposition that temporal proximity alone is
       sufficient to create an issue of fact as to retaliatory motive. In Muhammad the Sixth
       Circuit did not resolve the issue, but merely observed that “temporal proximity
       alone may be ‘significant enough to constitute indirect evidence of a causal
       connection so as to create an inference of retaliatory motive.’” Id. at 418 (quoting
       DiCarlo v. Potter, 358 F.3d 408, 422 (6th Cir.2004) (emphasis added). Even if
       temporal proximity may in some cases create an issue of fact as to retaliatory
       motive, it would only be sufficient if the evidence was “significant enough.”
       Plaintiff’s conclusory and ambiguous evidence is not “significant enough” to create
       an issue of fact as to retaliatory motive.

Brandon v. Bergh, 2010 WL 188731, slip op. at 1 (W.D. Mich., Jan. 16, 2010). As in Bergh,

Plaintiff in this case fails to allege facts in support of his assertion that Unknown Party JM was

motivated by a desire to retaliate against Plaintiff.

               Defendant O’Brien is a hearing officer whose duties are set forth at Mich. Comp.

Laws § 791.251 through § 791.255. Hearing officers are required to be attorneys and are under

the direction and supervision of a special hearing division in the Michigan Department of

Corrections. See Mich. Comp. Laws § 791.251(e)(6). Their adjudicatory functions are set out in

the statute, and their decisions must be in writing and must include findings of facts and, where

appropriate, the sanction imposed. See Mich. Comp. Laws § 791.252(k). There are provisions for

rehearings, see Mich. Comp. Laws § 791.254, as well as for judicial review in the Michigan courts.

See Mich. Comp. Laws § 791.255(2). Accordingly, the Sixth Circuit has held that Michigan

hearing officers are professionals in the nature of administrative law judges. See Shelly v. Johnson,


                                                  10
Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.138 Page 11 of 13



849 F.2d 228, 230 (6th Cir. 1988). As such, they are entitled to absolute judicial immunity from

inmates’ § 1983 suits for actions taken in their capacities as hearing officers. Id.; and see Barber

v. Overton, 496 F.3d 449, 452 (6th Cir. 2007); Dixon v. Clem, 492 F.3d 665, 674 (6th Cir. 2007);

cf. Pierson v. Ray, 386 U.S. 547, 554-55 (1967) (judicial immunity applies to actions under § 1983

to recover for alleged deprivation of civil rights). Therefore, Plaintiff’s claim against Defendant

O’Brien is properly dismissed.

                To the extent that Plaintiff is claiming that his misconduct tickets violated his due

process rights, the Court will dismiss Plaintiff’s due process claims. Plaintiff claims that the

various misconducts he received were “false.”           A prisoner’s ability to challenge a prison

misconduct conviction depends on whether the convictions implicated any liberty interest. In the

seminal case in this area, Wolff v. McDonnell, 418 U.S. 539 (1974), the Court prescribed certain

minimal procedural safeguards that prison officials must follow before depriving a prisoner of

good-time credits on account of alleged misbehavior. The Wolff Court did not create a free-floating

right to process that attaches to all prison disciplinary proceedings; rather the right to process arises

only when the prisoner faces a loss of liberty, in the form of a longer prison sentence caused by

forfeiture of good-time credits:

        It is true that the Constitution itself does not guarantee good-time credit for
        satisfactory behavior while in prison. But here the State itself has not only provided
        a statutory right to good time but also specifies that it is to be forfeited only for
        serious misbehavior. Nebraska may have the authority to create, or not, a right to
        a shortened prison sentence through the accumulation of credits for good behavior,
        and it is true that the Due Process Clause does not require a hearing “in every
        conceivable case of government impairment of private interest.” But the State
        having created the right to good time and itself recognizing that its deprivation is a
        sanction authorized for major misconduct, the prisoner’s interest has real substance
        and is sufficiently embraced within Fourteenth Amendment “liberty” to entitle him
        to those minimum procedures appropriate under the circumstances and required by
        the Due Process Clause to insure that the state-created right is not arbitrarily
        abrogated.

Wolff, 418 U.S. at 557 (citations omitted).
                                                   11
Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.139 Page 12 of 13



                 Plaintiff does not allege that his major misconduct convictions resulted in any loss

of good-time credits, nor could he. The Sixth Circuit has examined Michigan statutory law, as it

relates to the creation and forfeiture of disciplinary credits 1 for prisoners convicted of crimes

occurring after April 1, 1987. In Thomas v. Eby, 481 F.3d 434 (6th Cir. 2007), the court determined

that loss of disciplinary credits does not necessarily affect the duration of a prisoner’s sentence.

Rather, it merely affects parole eligibility, which remains discretionary with the parole board. Id.

at 440. Building on this ruling, in Nali v. Ekman, 355 F. App’x 909 (6th Cir. 2009), the court held

that a misconduct citation in the Michigan prison system does not affect a prisoner’s

constitutionally protected liberty interests, because it does not necessarily affect the length of

confinement.     355 F. App’x at 912; accord, Taylor v. Lantagne, 418 F. App’x 408, 412

(6th Cir. 2011); Wilson v. Rapelje, No. 09-13030, 2010 WL 5491196, at * 4 (E.D. Mich. Nov. 24,

2010) (Report & Recommendation) (holding that “plaintiff’s disciplinary hearing and major

misconduct sanction does not implicate the Fourteenth Amendment Due Process Clause”),

adopted as judgment of court, 2011 WL 5491196 (Jan. 4, 2011). In the absence of a demonstrated

liberty interest, Plaintiff has no due-process claim based on the loss of disciplinary credits. See

Bell v. Anderson, 301 F. App’x 459, 461-62 (6th Cir. 2008).

                 Even in the absence of a protectible liberty interest in disciplinary credits, a prisoner

may be able to raise a due-process challenge to prison misconduct convictions that result in a

significant, atypical deprivation. See Sandin v. Connor, 515 U.S. 472 (1995). Plaintiff has not

identified any significant deprivation arising from his convictions. Unless a prison misconduct

conviction results in an extension of the duration of a prisoner’s sentence or some other atypical



1
  For crimes committed after April 1, 1987, Michigan prisoners earn “disciplinary credits” under a statute that
abolished the former good-time system. Mich. Comp. Laws § 800.33(5).


                                                      12
Case 2:18-cv-00009-GJQ-TPG ECF No. 5 filed 08/28/18 PageID.140 Page 13 of 13



hardship, a due-process claim fails. Ingram v. Jewell, 94 F. App’x 271, 273 (6th Cir. 2004).

Therefore, Plaintiff’s due process claims regarding his misconduct tickets are properly dismissed.

               Finally, the Court notes that Plaintiff’s retaliation claims against Defendants Knack,

Stallman, McDowell, Moran, Eicher, and Weist, and his Eighth Amendment claims against

Defendants Knack, Stallman, Eicher, and Weist are not clearly frivolous. Therefore, they are not

dismissed on initial screening.

                                           Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that Defendants O’Brien, Maki, Anderson, MacLaren, Peller, Ball, Lamb,

Corizon, and Unknown Party JM will be dismissed for failure to state a claim, under 28 U.S.C. §§

1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c). The Court will also dismiss Plaintiff’s due

process claims regarding his misconduct tickets on the same basis. The Court will serve the

complaint against Knack, Stallman, McDowell, Moran, Eicher, and Weist.

               An Order consistent with this Opinion will be entered.



Dated: August 28, 2018                                       /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




                                                13
